        Case 1:20-cr-00018-SPB Document 20 Filed 07/29/20 Page 1 of 14




                      IN THE UNITED STATES DISTRICT COURT
                   FOR THE WESTERN DISTRICT OF PENNSYLVANIA

UNITED STATES OF AMERICA                   )
                                           )
              v.                           )   Criminal No. 1:20-cr-00018
                                           )
MELQUAN BARNETT                            )


                    MOTION FOR ORDER AUTHORIZING
                    PRETRIAL RELEASE OF DEFENDANT

      The Defendant, Melquan Barnett, by and through his counsel, Charles

Kwalonue Sunwabe, Jr., files this Motion for Order Authorizing Pretrial Release of

Defendant. In support hereof, the Defendant states as follows:

                                     Background

      1.      The Defendant is a 28-year-old man recently arrested in connection with

the recent Black Lives Matter protests in Erie, Pennsylvania.

The government has charged the Defendant with arson and attempted arson. The

Defendant is presumed innocent. No building was burned during the incident, and

there was virtually no property damage. The owner of the coffee shop has stated

publicly that she “would like to see the federal charge against Barnett dismissed and

the case handled in state court, where penalties are generally less stringent.” Exhibit

A. Accordingly, Defendant respectfully seeks a prompt hearing.

      2.      The magistrate has issued a pretrial order recommending that the

Defendant be held in jail without bail, pending trial (the "Detention Order"). ECF

Doc. No. 8.
          Case 1:20-cr-00018-SPB Document 20 Filed 07/29/20 Page 2 of 14




      3.      The Defendant respectfully requests that the Court reconsider such

order, and release the Defendant into his mother's custody, pending trial pursuant to

the Bail Reform Act, 18 U.S.C. § 3141 et seq.


I.    It is proper to release the Defendant pursuant to the guidelines set
forth in the Bail Reform Act.

      4.      The Bail Reform Act authorizes a criminal defendant to ask a district

court to review the findings of a magistrate court de novo with respect to pretrial

detention.

      5.      According to the U.S. Supreme Court, pretrial detention is an

“exception” to the “norm” of release. United States v. Salerno, 481 U.S. 739, 755

(1987).

      6.      As explained by the court, pretrial detention -- as ordered in this

case -- is a “grave invasion of the most fundamental of all personal liberties occurs.”

United States v. Perry, 788 F.2d 100, 114 (3d Cir. 1986).

      7.      Pursuant to the Bail Reform Act, “only a limited group of offenders . . .

should be detained pending trial.” United States v. Shakur, 817 F.2d 189, 195 (2d Cir.

1987) (quoting S. Rep. No. 98-225, at 7 (1984)).

      8.      This Motion asks the Court to revoke the findings of the magistrate

court in the Detention Order based on the tenets of the act.
        Case 1:20-cr-00018-SPB Document 20 Filed 07/29/20 Page 3 of 14




      A.      The Magistrate Judge erred when he incorrectly placed the
              burden of presumption on the defense under 18 U.S.C.
              § 3142(e)(2).

      9.      According to the Bail Reform Act, detention should be presumed only

with a few types of offenses. Here, the magistrate applied the presumption under 18

U.S.C. § 3142(e)(2) (2020). But, this subsection requires more than a finding that

arson is a crime of violence. It requires all of the following:

      A. 18 U.S.C. § 3142(e)(2): That the Defendant is charged with a crime outlined

           in § 3142(f)(1). Here, the crime charged is arson and the Court found, over

           defense objection, that this constituted a crime of violence. The magistrate

           court noted the same on the Detention Order, checking (only) the box for

           “crime of violence” as the reason for the rebuttable presumption.

      B. 18 U.S.C. § 3142(e)(2)(A): That the person has been previously convicted of

           a federal offense (or state equivalent) of an offense listed in § 3142(f)(1).

           The magistrate court made no finding at all on this point. This statutory

           requirement for the instant presumption was not met and it was not

           checked off on the Detention Order.

      C. 18 U.S.C. § 3142(e)(2)(B): That the previous conviction occurred while the

           person was out on release pending trial. This statutory requirement for the

           instant presumption was not met and it was not checked off on the

           Detention Order.
        Case 1:20-cr-00018-SPB Document 20 Filed 07/29/20 Page 4 of 14




      D. 18 U.S.C. § 3142(e)(2)(C): That not more than five years has elapsed since

            the date of the conviction or release from imprisonment. This statutory

            requirement for the instant presumption was not met and it was not

            checked off on the Detention Order.

      11.      As the above statute indicates, there is a presumption of incarceration

only with a few limited categories of offense. In this matter, the requirements were

not met. (see sentencing order).

      12.      In the Detention Order, the magistrate judge only checked off one of four

requirements necessary for the invocation of the rebuttal presumption under the

within statute. Id. The other significant requirements of the statute were not

checked off by the judge.

      13.      Equally important, the facts of this case do not support any findings as

to the remaining requirements of the statute. Id. Put simply, this is not a rebuttal

presumption case and the honorable magistrate inappropriately placed the

presumption on the defense.

      14.      By doing this, the magistrate incorrectly recommended that the

Defendant be detained.

      15.      Mr. Barnett respectfully asks this court to reverse the magistrate and

release him from detention.
           Case 1:20-cr-00018-SPB Document 20 Filed 07/29/20 Page 5 of 14




      B.       The Detention Order incorrectly assumed that the defense had
               not rebutted the presumption of detention.

      10.      In his order, the magistrate found that the defense had not rebutted the

presumption of detention. (see detention order).

      11.      However, numerous cases have held that defendants can rebut the

presumption by presenting “credible evidence” sufficient to rebut the presumption of

detention. U.S. v. Perry, 788 F.2d 100 (3d Cir. 1986).

      12.      The requirement of “some credible evidence” is a “relatively light”

burden that is very “easy to meet.” United States v. Griffin, No. 07-02, 2007 WL

510140, at *2 (W.D. Pa. Feb. 12, 2007) (Cohill, J.) (internal quotations omitted).

      13.      In this case, the defense met its burden of production when the

Defendant's attorney, Charles K. Sunwabe, explained that the Defendant's mother

was willing and able to serve as a third-party custodian until the conclusion of this

matter.

      14.      While Defendant's mother did not appear at the hearing due to her work

schedule, Pretrial Services testified that they had spoken to the mother,

recommended that the Defendant be released to her custody. (See Pretrial Services

report).

      15.      The Defendant is also not a flight risk, as he voluntarily turned himself

in to Erie County Police Department in a timely manner once he learned that he was

facing charges stemming from the April demonstration.
        Case 1:20-cr-00018-SPB Document 20 Filed 07/29/20 Page 6 of 14




      16.    Equally important, the Defendant does not possess the sophistication or

means to be a flight risk. He does not have the financial means to undertake such as

endeavor. The Defendant is indigent. This fact is buttressed by the findings of

Pretrial Service, after their investigation of the Defendant’s financial records. Id.

      17.    As reflected in the Pretrial Services report, Defendant is a native of Erie,

Pennsylvania. He is a father of two sons and recently lost his minor daughter to the

COVID-19 virus. His siblings, father, cousins, and aunts are all residents of Erie. Id.

      18.    All of this evidence warrants the Defendant's immediate release,

pending trial. The Third Circuit has held that a defendant need only produce “some

credible evidence that he will appear and will not pose a threat to the community.”

United States v. Carbone, 793 F.2d 559, 560 (3d Cir. 1986).

      19.    It is long held that the presumption of detention can be rebutted by “any

evidence favorable to a defendant that comes within a category listed in § 3142(g) . . .

.” United States v. Dominguez, 783 F.2d 702, 707 (7th Cir. 1986) (emphasis added).

As long as a defendant “come[s] forward with some evidence that [the defendant] will

not flee or endanger the community if released,” the presumption of flight risk and

dangerousness is definitively rebutted. Id. (emphasis added).

      20.    Significantly, it is rebutted as soon as the defense’s burden of production

is met. Id. (discussing United States v. Jessup, 757 F.2d 378, 384 (1st Cir. 1985)).

The government bears the burden of persuasion at all times. Id.
        Case 1:20-cr-00018-SPB Document 20 Filed 07/29/20 Page 7 of 14




      21.      During the detention hearing in this matter, the defense met its burden

of production. The defendant presented evidence that he is not a flight risk, and his

position was supported by the recommendation of Pretrial Services.

      22.      Accordingly, Mr. Barnett, respectfully asks this Court to reverse the

finding that the defense did not rebut the presumption of detention.

      C.       The government has failed to meet its burden of persuasion.

      23.      As indicated above, the government has the burden of persuasion that

Mr. Barnett is a danger to the community. The government has not met such burden.

      24.      The United States presented no live, or real testimony and rested solely

on the indictment, which reduces the weight of its evidence. The United States’

proffer consisted entirely of the charging documents against Mr. Barnett.

      25.      The charging documents are solely indicative of the existence of probable

cause. As this court knows, the required standard is for the prosecution to show the

existence of danger to the community by “clear and convincing evidence”. U.S. v.

Jamal, 285 SUPP. 2d 1221 (D. Ariz. 2003), citing U.S. v. Himler, 797 F.2d 156 (3rd

Circ. 1986).

      26.      By definition, a proffer of the charging documents is insufficient to find

danger to the community by clear and convincing evidence -- because this is a higher

standard than probable cause.

      27.      This is particularly true when one compares the within standard with

Mr. Barnett’s presumption of innocence.
        Case 1:20-cr-00018-SPB Document 20 Filed 07/29/20 Page 8 of 14




      28.     According to the U.S. Supreme Court, “the Government must point to

more than the mere indictment.” U.S. v. Jamal, supra.

      29.     The standard of clear and convincing evidence is evidence that provides

a “high degree of certainty.” U.S. v. Paulino, 2018 WL 3946451 (S.D.N.Y. 2018); U.S.

v. Chimurenga, 760 F.2d 400 (2d Circ. 1985). There must be clear and convincing

evidence that the defendant actually poses a danger. A theoretical explanation or

speculation that a particular defendant poses a danger is not sufficient. U.S. v.

Patriarca, 948 F.2d 789 (1st Circ. 1991) (mafia boss in theory was highly intimidating

and dangerous character, but the government did not demonstrate that this boss

posed significant danger that could not be overcome with appropriate conditions; U.S.

v. Marquez, 2018 WL 4773152 (N.D. Cal. 2018) (gun sale defendant was not a danger

because there was no evidence defendant had access to them; U.S. v. Miller, 2018 WL

6977619 (S.D. Fla. 2018) (once drug dealer was arrested, other drug dealers avoid

defendant).

      30.     An analysis of the above case law makes abundantly clear that the

United States failed woefully to demonstrate via clear and convincing evidence that

Mr. Barnett poses actual danger to the community.

      31.     Nothing produced by the United States at the detention hearing

remotely supports the presumption that Mr. Barnett would pose a danger to the

community.
        Case 1:20-cr-00018-SPB Document 20 Filed 07/29/20 Page 9 of 14




      32.    There are presently no demonstrations ongoing in the County of Erie in

Western Pennsylvania.      Even if demonstrations were continuing, there is no

indication that Mr. Barnett would participate, and that such participation would

endanger the community.

      33.    As indicated at the hearing, Mr. Barnett will not have access to fire

setting devices or instruments; he will be in the custody of his mother and his

movements, activities will be severely curtailed.

      34.    As a condition of his release, he will not be permitted to have contacts

with individuals who are known to have either planned or participated in the

demonstrated that is at the core of the within matter. He will reside at his mother's

residence and will be monitored by Pretrial Services.

      35.    Thus, it is fairly easy to effectively ensure that Mr. Barnett will not

engage in any conduct dangerous to the community, if he were to be released.

      36.    This option was not considered by the magistrate judge.

      37.    Accordingly, Mr. Barnett respectfully asks this court to vacate the

magistrate judge’s findings that no conditions exist that would ensure the safety of

the community.

      38.    Legally, a defendant need not “demonstrate that [the type of crime

charged] is not dangerous to the community” to rebut the presumption of

dangerousness. Dominguez, 783 F.2d at 706. In Dominguez, a district court was

reversed by the Seventh Circuit for expecting the defendants to provide evidence that
        Case 1:20-cr-00018-SPB Document 20 Filed 07/29/20 Page 10 of 14




their participation in a narcotics distribution scheme was not a danger to the

community. Id. As the court noted: “Under the district court’s interpretation, few if

any defendants in narcotics cases could ever rebut the presumption of dangerousness

and thereby defeat pretrial detention.” Id.

       39.    Oftentimes, judges detain defendants based solely on the dangerousness

inherent in the offense with which they are charged. Detention on that ground is

improper. “A defendant cannot be detained as dangerous under § 3142(e) . . . unless

a finding is made that no release conditions “will reasonably assure…the safety of the

community…” (emphasis added). Id.

       40.    Instead,   this    Court   must   analyze   the   defendant’s   individual

characteristics under § 3142(g).         Due process also requires individualized

determinations.

       41.    In presumption cases, the Court is forbidden from solely relying on the

weight of the evidence purposely to detain a presumption defendant. Viewed in this

way, the “weight of the evidence” is the “least important” of the various § 3142(g)

factors. See, e.g., United States v. Townsend, 897 F.2d 989, 994 (9th Cir. 1990). “How

guilty” someone is does not matter for purposes of detention. The weight of the

evidence is relevant only in relation to the types of conditions that can and should be

set in that specific case. Id.

       42.    In the instant case, Mr. Barnett respectfully disputes the finding of

danger to the safety of the community.
       Case 1:20-cr-00018-SPB Document 20 Filed 07/29/20 Page 11 of 14




      43.    Where such a finding is made, the court must proceed via a second step

and determine if there are conditions that exists that can mitigate the danger and

ensure the safety of the community.

      44.    To this end, Mr. Barnett averred during this detention hearing that he

would reside with his mother and would scrupulously abide by the conditions

imposed. He does not object to electronic monitoring, as suggested by Pretrial

Services; an endless list of precautionary measures were suggested by pretrial

services and the defendant acceded to all of them.

II.   It is appropriate to release the Defendant due to the ongoing COVID
      19 pandemic.

      45.    As of July 20, 2020, COVID-19 remains a global health threat. Globally,

the virus has killed thousands of people. Tragically, the virus is spreading

exponentially; the virus is present in all 50 states, including Pennsylvania.

      46.    While Pennsylvania has partially the stay at home order, strong social

distancing rules remain in place. The virus is present and spreading in Erie County,

Pennsylvania.

      47.    As noted in the Pretrial Services report, Mr. Barnett has health issues

which make him vulnerable to the virus. In addition, Mr. Barnett recently lost his

infant daughter to the COVID-19 virus.
       Case 1:20-cr-00018-SPB Document 20 Filed 07/29/20 Page 12 of 14




      48.    The proximity of persons at the prison poses risks to the inmates, prison

guards and also to attorneys who routinely require access to their clients for trial and

other trial related preparations purposes.

      49.    In the instant case, the pandemic presents a compelling problem on two

fronts: Mr. Barnett’s attorney -- Charles Sunwabe -- does not feel safe enough during

prison visits to communicate effectively with the Defendant at such location. This is

partially due to the relaxed use of masks at the prison.

      50.    Attorney Sunwabe has two children who suffer from asthma. Asthma is

a significant risk factor in the ongoing COVID-19 Pandemic.

      51.    The recent death of Mr. Barnett's daughter from COVID-19 in May --

coupled with the relaxed protections at the jail -- exposes the Defendant and his

counsel to the real risks of being infected with the virus.

      52.    Across the United States, federal courts have found the COVID-19

pandemic is a “compelling reason” justifying temporary release under 18 U.S.C.

3142(i).

      53.    This is a distinct legal basis for release; separate from the § 3142(f)

determination. For example, In U.S. v. Robert B. Mahan, Jr., Chief Magistrate Judge

of the District of Idaho temporarily released a defendant to live with his mother

because of the pandemic where the defendant was charged with Conspiracy to

Distribute Methamphetamine. This ruling occurred in spite of the following: (1) the

defendant was detained for a drug offense carrying a statutory mandatory min of ten
       Case 1:20-cr-00018-SPB Document 20 Filed 07/29/20 Page 13 of 14




years imprisonment; (2) the Defendant spent much of his adult life in prison, having

been convicted, serially, of drug trafficking, aggravated assault, possession of a

firearm by a prohibited person, and other offenses; and (3) the defendant had

committed several of these offenses while on state parole. The risk he faced from

COVID-19 while being asthmatic was “compelling” because it endangered his life and

transmission in a prison setting was inevitable. U.S. v. Mahan, 2020 WL 1846789,

No. 19-CR-233, D. Idaho, Bush, C.J., Apr. 10, 2020.

      54.     The risks of transmission of COVID-19 in Erie are identical to the

Mahan case.

      55.     At the juncture in these proceeding, defense counsel is afraid to

routinely visit his client in jail, due to the pandemic. This is significantly impacting

the defense’s ability to adequately prepare for this trial and to confer with Mr.

Barnett in a timely manner.

      56.     It is important to note that telephone conversation between Mr. Barnett

and Attorney Sunwabe are oftentimes challenging (as the phone is not clear and is

difficult to understand).

                                     Conclusion

      57.     The Bail Reform Act favors and mandates pretrial release. Doubts

regarding the propriety of release must be resolve by the Court in the defendant’s

favor.” U.S. v. Sanchez-Martinez, 2013 WL 3662871 (D.Col. 2013); U.S. v. Dany, 2013
       Case 1:20-cr-00018-SPB Document 20 Filed 07/29/20 Page 14 of 14




WL 4119425 (N.D. Cal. 2013) (pretrial release should be denied “only in rare

circumstances”).

      58.    Mr. Barnett presented sufficient evidence at his detention hearing that

conditions exist that can mitigate any perceived risk of danger to the safety of the

community. Further, the burden always remains with the government and it was

not met in this case.

      WHEREFORE, for the reasons outlined herein, the Defendant respectfully

asks this Court to reverse the magistrate court’s Detention Order and release him to

the third-party custody of his mother, on electronic monitoring, in addition to

ordering all other conditions that the Court deems necessary.



                                 Respectfully submitted,

                                 /s/Charles Kwalonue Sunwabe, Jr.
                                 Charles Kwalonue Sunwabe Jr., M. A. Esq.
                                 SUNWABE LAW LLC
                                 1001 State Street. Suite 524
                                  Erie, Pennsylvania 16501
                                  TELE: 814-367-4313
